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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEGRAIN WINSTON, MICHELLE                  )
STRICKLAND, VERNELL TIMS,                  )
I.V. NEWSON, JR., SAMUEL PAGE,             )
WILFORD FERGUSON, CECIL WILLIAMS,          )
ANTHONY MANNING, DAVID WALKER,             )
TYRONE MCGHEE and VICTOR                   )
SLAUGHTER,                                 )
                                           )
                      Plaintiffs,          )
                                           )
       v.                                  )             No. 18 CV 5726
                                           )
SHERIFF OF COOK COUNTY THOMAS              )
J. DART, in his Official Capacity, JOSEPH  )
RANZINO, Individually and in this Official )
Capacity, GREGORY SHIELDS, Individually )                Jury Trial Demand
and in his Official Capacity, THOMAS NEAL, )
Individually and in his Official Capacity, )
CHRISTOPHER ROHLOFF, Individually and )
In his Official capacity, and COUNTY OF    )
COOK, ILLINOIS,                            )
                                           )
                      Defendants.          )
                                           )

                     MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       NOW COME Defendants Sheriff of Cook County Thomas J. Dart, Joseph Ranzino,

Gregory Shields, Thomas Neal, Christopher Rohloff, and County of Cook, Illinois

(“Defendants”), by Kimberly M. Foxx, Cook County State’s Attorney, through her assistant

Timothy Swabb, and hereby move to dismiss the Complaint filed by the Defendants for the

following reasons:
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                                        INTRODUCTION

       Plaintiffs Legrain Winston, Michelle Strickland, Vernell Tims, I.V. Newson, Jr., Samuel

Page, Wilford Ferguson, Cecil Williams, Anthony Manning, David Walker, Tyrone Mcghee and

Victor Slaughter (“Plaintiffs”), present and former employees of the Cook County Sheriff’s

Department assigned to the Electronic Monitoring Unit (“EM Unit”), have filed a Complaint

against Sheriff Of Cook County Thomas J. Dart, in his Official Capacity; County Of Cook,

Illinois; and Joseph Ranzino, , Gregory Shields, Thomas Neal, and Christopher Rohloff in their

individual and official capacities. Plaintiffs have sued the Sheriff in his official capacity and the

County, as well as present and former individual supervisors in the EM Unit in their individual

and official capacities. Plaintiffs allege that they were harassed, disciplined, given undesirable

assignments, and otherwise treated unfairly because they are African American. They allege

racial discrimination, a hostile work environment, and retaliation in violation of Title VII,

Section 1981, Section 1983, and the Illinois Human Rights Act, negligent retention, respondeat

superior. They seek damages and declaratory relief.


       First, Plaintiffs’ Title VII claims which are outside of the required statutory period should

be dismissed. Second, Section 1981 does not apply against any of the official capacity claims or

Cook County, since those are all suits against state actors. Third, Plaintiffs have not shown that

Defendants in their official capacity or Cook County are liable for the alleged actions of their

employees under Section 1983. Fourth, Plaintiffs’ claims are beyond the scope of their EEOC

charges or they failed to file EEOC charges. Fifth, Plaintiffs’ claims are beyond the scope of

their IDHR charges or they failed to file IDHR charges. Sixth, Plaintiffs have not shown that the

Defendants in their official capacity or Cook County are liable under respondeat superior.

Seventh, Plaintiffs’ state court claims against Defendants are barred by the Tort Immunity Act.
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Eighth, Plaintiff’s claims under the Illinois Human Rights Act are time-barred. Finally, Cook

County is not a proper party to this lawsuit because Cook County does not employ the individual

Defendants.


       I.      Plaintiffs’ Title VII Claims Which Are Outside Of The Required Statutory
               Period Should Be Dismissed.


       The Court should dismiss any of Plaintiffs’ claims under Title VII which are outside of

the mandated statutory period. “[A] plaintiff in a deferral state such as Illinois must file a charge

of discrimination with the EEOC or equivalent state agency within 300 days after the ‘alleged

unlawful employment practice.’ 42 U.S.C. § 2000e-5(e)(1).” Sharp v. United Airlines, Inc., 236

F.3d 368, 372 (7th Cir. 2001). "The 300-day limit ... begins to run when the defendant has taken

the action that injures the plaintiff and when the plaintiff knows she has been injured." Id.

(citation and quotation marks omitted). See Ledbetter v. Goodyear Tire & Rubber Co., 550 U.S.

618, 623–24 (2007); AMTRAK v. Morgan, 536 U.S. 101, 109–10 (2002); Roney v. Ill. DOT, 474

F.3d 455, 460 (7th Cir. 2007).


       Plaintiffs Legrain Winston, Samuel Page, and Victor Slaughter allege that they filed their

EEOC/IDHR charges on July 25, 2016, while Plaintiff I.V. Newson alleges that he filed his

charge on October 11, 2017. Complaint, paragraph 6 and exhibits. Any claims of

discrimination by Winston, Page, and Slaughter before September 29, 2015 are barred. Any

claims of discrimination by Newson before December 15, 2016 are barred. Therefore, the Court

should dismiss Plaintiffs’ allegations which fall outside of the required statutory period.
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       II.     Plaintiffs’ IHRA Claims Which Are Outside Of The Required Statutory
               Period Should Be Dismissed.

       The Court should dismiss any of Plaintiffs’ claims under the Illinois Human Rights Act

which are outside of the mandated statutory period. Prior bringing claims under the Illinois

Human Rights Act, a plaintiff must first exhaust her administrative remedies with the Illinois

Department of Human Rights (IDHR) and all claims must be brought within 180 days of the

purported adverse action. See 775 ILCS 5/7A-102(A)(1).


       Plaintiffs Legrain Winston, Samuel Page, and Victor Slaughter allege that they filed their

EEOC/IDHR charges on July 25, 2016, while Plaintiff I.V. Newson alleges that he filed his

charge on October 11, 2017. Complaint, paragraph 6 and exhibits. Any claims of

discrimination by Winston, Page, and Slaughter before January 27, 2016 are barred. Any claims

of discrimination by Newson before April 14, 2017 are barred. Therefore, the Court should

dismiss Plaintiffs’ allegations which fall outside of the required statutory period.


       III.    Plaintiffs’ Section 1983 Claims Which Are Outside Of The Required
               Statutory Period Should Be Dismissed.

       The Court should dismiss any of Plaintiffs’ claims under Section 1983 which are outside

of the mandated statutory period. All Section 1983 claims must be brought within two years of

the purported adverse action. Kalimara v. Illinois Dep't of Corrections, 879 F.2d 276, 277 (7th

Cir. 1989); Farrell v. McDonough, 966 F.2d 279, 281 (1992), cert. denied, 506 U.S. 1084 (1993)

(expressing continued adherence to Kalimara). The Complaint in this matter was filed on August

21, 2018. Any Section 1983 claims before August 21, 2016 are barred. Therefore, the Court

should dismiss Plaintiffs’ allegations which fall outside of the required statutory period.
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       IV.     Plaintiffs’ State Law Claims Against Public Entities Which Are Outside of
               the Required Statutory Period Should Be Dismissed.

       In Illinois, civil actions against local public entities must be brought “within one year

from the date that the injury was received or the cause of action accrued.” Tort Immunity Act,

745 Ill. Comp. Stat. 10/8-101(a); see Fanio v. John W. Breslin Co., 51 Ill. 2d 366 (1972)

(upholding constitutionality of one-year statute of limitations). “The legislature, when enacting

the Tort Immunity Act, specifically stated that its purpose was ‘to protect local public entities

and public employees from liability arising from the operation of government.’” Tosado v.

Miller, 188 Ill.2d 186, 194 (1999) (quoting the Tort Immunity Act, 745 Ill. Comp. Stat. 10/8-

101.1(a)). The Illinois Supreme Court further explained that the statute of limitations encourages

prompt investigation and resolution of disputes and affords governments the opportunity to

realistically plan their budgets. Id. at 195; Saragusa v. City of Chicago, 63 Ill. 2d 288, 293

(1976). In Olojo v. Kennedy-King College, the court held that the plaintiff’s state law claims

(IIED and negligence) were time-barred because they were subject to the Tort Immunity Act,

which applied to civil actions, including common law, state statutory, and state constitutional

claims and because the defendant qualified as a local public entity entitled to the protections of

the Act. Olojo, 2006 U.S. Dist. LEXIS 42109, at *26.


       Similarly, in the present case, the official capacity claims and the claims against Cook

County are entitled to the protections of the Tort Immunity Act. The Complaint in this matter

was filed on August 21, 2018. Any state law claims against public entities before August 21,

2016 are barred. Therefore, the Court should dismiss Plaintiffs’ state law claims against public

entities which fall outside of the required statutory period.
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       V.       Several Plaintiffs Failed To File EEOC Charges.

       Generally a plaintiff may not bring claims under Title VII that were not originally

brought among the charges to the EEOC. Peters v. Renaissance Hotel 307 F.3d 535 (7th Cir.

2002). Plaintiffs Michelle Strickland, Vernell Tims, Wilford Ferguson, Cecil Williams, Anthony

Manning, David Walker, and Tyrone Mcghee failed to file EEOC charges (see Complaint) and

therefore may not file Title VII claims. Id.


       VI.      Several Plaintiffs Failed To File IDHR Charges.

       Generally a plaintiff may not bring claims under the Illinois Human Rights Act that were

not originally brought among the charges to the IDHR. A plaintiff must exhaust his

administrative remedies before the Illinois Human Rights Commission prior to filing suit in a

judicial forum. See Talley v. Washington Inventory Serv., 37 F.3d 310, 311 (7th Cir. 1994).

Plaintiffs Michelle Strickland, Vernell Tims, Wilford Ferguson, Cecil Williams, Anthony

Manning, David Walker, and Tyrone Mcghee failed to allege that they files EEOC charges (see

Complaint) and therefore may not file Title VII claims (Talley v. Washington Inventory Serv., 37

F.3d at 311).


       VII.     Section 1981 Does Not Apply Against Any Of The Official Capacity Claims
                Or Cook County, Since Those Are All Suits Against State Actors.

       The Seventh Circuit has held that 42 U.S.C § 1981 does not create a private right of

action against state actors. Campbell v. Forest Preserve Dist. of Cook Cnty., 752 F.3d 665, 671

(7th Cir. 2014). In Campbell, an employee of the Cook County Forest Preserve District sued the

FPD (his former employer) after he was fired for having sex with a co-worker in the FPD’s

Aquatic Center. Id. at 666. His complaint alleged claims under Section 1983 of the Civil Rights

Act for race discrimination and due process violations and Section 1981 for race discrimination
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in the making and enforcement of contracts. Id. The district court dismissed his Section 1983

claims because they were not brought within the two-year statute of limitations and also

dismissed his Section 1981 claims because Section 1981 does not provide a remedy against

government entities. Id. In affirming the district court, Campbell held “[w]e now join the

overwhelming weight of authority and hold that Jett remains good law, and consequently, § 1983

remains the exclusive remedy for violations of Section 1981 committed by state actors.” Id. at

671. Similarly here, the Court must dismiss all official capacity claims and claims against Cook

County because there is no private right of action under 42 U.S.C § 1981.


       VIII. Plaintiffs Have Not Shown That Defendants In Their Official Capacity Or
             Cook County Are Liable For The Alleged Actions Of Their Employees
             Under Section 1983.

       A municipality may be liable for a Section 1983 violation in one of three ways: (1)

through an express policy that, when enforced, causes a constitutional deprivation; (2) through a

wide-spread practice that although not authorized by written law and express policy, is so

permanent and well-settled as to constitute a custom or usage with the force of law; or (3)

through an allegation that the constitutional injury was caused by a person with final decision

policymaking authority. Johnson v. Cook Cty., 526 F. App'x 692, 695 (7th Cir. 2013) (citation

and internal quotation marks omitted). Plaintiffs have failed to make allegations that the

Defendants sued in their official capacity or the County violated Section 1983 in any of these

ways, and therefore their Section 1983 claims against Defendants sued in their official capacity

or the County should be dismissed.
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       IX.     Plaintiffs Have Not Shown That The Defendants In Their Official Capacity
               Or Cook County Are Liable Under Respondeat Superior.

       Defendants sued in their official capacity or the County cannot be held liable for any

actions under a respondeat superior theory under Section 1983. “[A] municipality cannot be held

liable solely because it employs a tortfeasor -- or, in other words, a municipality cannot be held

liable under Section 1983 on a respondeat superior theory.” Monell v. Dep't of Social Services,

436 U.S. 658, 691 (1978). See Simpson v. Brown Cty., 860 F.3d 1001, 1005–06 (7th Cir. 2017)

(“[M]unicipal governments cannot be held liable for damages under 42 U.S.C. § 1983 on a

theory of respondeat superior for constitutional violations committed by their employees.”) and

Burritt v. Ditlefsen, 807 F.3d 239, 251 (7th Cir. 2015) (“A respondeat superior theory of liability

may not be pursued against a municipal government entity . . . .”). Accordingly, Defendants sued

in their official capacity or the County cannot be held liable simply for employing the individual

Defendants.


       X.      Cook County Is Not A Proper Party To This Lawsuit Because Cook County
               Does Not Employ The Individual Defendants.

       Cook County does not oversee, maintain, or control the operations of the Sheriff’s

Office. Therefore, the County is not a joint employer. Orenic v. Illinois State Labor

Relations, 127 Ill. 2d 453, 476 (1989), and cannot be sued as a joint employer. Therefore, all

claims against the County should be dismissed.
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                                          CONCLUSION


       For all of the above reasons, Plaintiffs’ claims should be dismissed in whole or in

part with prejudice.




                                           Respectfully submitted,


                                           KIMBERLY M. FOXX
                                           State’s Attorney of Cook County

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